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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *   Case No.: 21-CR-28-APM
THOMAS E. CALDWELL                                *
         *      *       *         *    *      *       *      *       *      *       *
             UNOPPOSED REQUEST TO MODIFY CONDITIONS OF RELEASE

         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David

W. Fischer, Esq., and respectfully requests that the Court modify the conditions of release in this

matter as follows:

      1. On March 12, 2021, the Defendant was released on 24/7 lock-down home incarceration

         at his residence and GPS monitoring. To date, the Defendant has fully complied with all

         conditions of release.

      2. The Defendant requests permission to leave his home on December 25, 2021 from 11:30

         a.m. to 7:00 p.m. to celebrate the Christmas holiday with neighbors who reside less than a

         mile from the Defendant’s home. Further, the Defendant will be accompanied by his

         wife, Sharon Caldwell.

      3. Assistant U.S. Attorney Kathryn Rakoczy does not oppose the instant request.




         WHEREFORE, the Defendant respectfully requests that he be permitted to leave his

home on December 25, 2021 from 11:30 a.m. to 7:00 p.m. to celebrate the Christmas holiday at

his neighbor’s house while accompanied by his wife, Sharon Caldwell.
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                                                             /s/
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                                                   (410) 787-0826
                                                   Attorney for Defendant




                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 20th day of December, 2021, a copy of the foregoing
Unopposed Motion to Modify Conditions of Release was electronically filed with the Clerk of
the United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                 Office of the United States Attorney
                                            555 4th Street, NW
                                            Washington, DC 20001

                                                           /s/
                                                   David W. Fischer, Esq.
